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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

DEBORAH KOFLER,

       Plaintiff,

v.                                                  CASE NO.: 8:20-cv-01460-VMC-AEP

SAYDE STEEVES CLEANING
SERVICE, INC.

      Defendants.
_________________________________/

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendant, through their respective undersigned counsels, stipulate to, and

jointly move this Court for the entry of an Order dismissing this cause with prejudice, with each

side to bear its own attorneys’ fees and costs.

       Dated this 15th day of December, 2020.



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